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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

BABY DOE, et al.                                     )
                                                     )
             Plaintiffs,                             )
                                                     )
v.                                                   )       Case No. 3:22-cv-49-NKM
                                                     )
JOSHUA MAST, et al.                                  )
                                                     )
             Defendants,                             )
                                                     )
and                                                  )
                                                     )
UNITED STATES SECRETARY OF                           )
STATE ANTONY BLINKEN, et al.,                        )
                                                     )
             Nominal Defendants.                     )
                                                     )

        DEFENDANT RICHARD MAST’S NOTICE OF SUPPLEMENTAL AUTHORITY

             Insofar as Plaintiffs have made reference to, and have filed as “supplemental

      authority” with this Court, the Virginia state court order ruling on the adoption order (see,

      e.g., Dkt. Nos. 198-99, 202 and 211), we provide the following supplemental authority in the

      same vein: the Virginia Circuit Court’s recent determination (May 12, 2023) that its previous

      order of May 3, 2023 on the Motion for Summary Judgment voiding the final adoption order

      in that case is not final; rather, it is interlocutory and subject to appeal (attached hereto as Ex.

      1). Moreover, the Circuit Court’s interlocutory adoption order remains in place as well as the

      Juvenile & Domestic Relations Court’s custody order. Further, the court refused Plaintiff’s

      request for custody of this child.      The Circuit Court, following appellate review of its

      decisions, during which time the effect of the May 3 Order is stayed, will eventually “make a

      final determination as to the best interest of this child,” assuming the Virginia appellate

      review does not terminate the adoption challenge with a dismissal.
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             Furthermore, on April 27, 2023, immediately prior to the Circuit Court’s orders of

      May 12, when the Circuit Court made clear its opinion was interlocutory and subject to

      appeal so that the Supreme Court of Virginia could take up the issues in the matter, the

      Supreme Court of Virginia asked the parties to brief the question as to the

      finality/interlocutory nature of the Circuit Court’s decision (attached hereto as Ex. 2). That

      question appears to have been answered by the Circuit Court itself.


Dated: May 19, 2023                                Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of May, 2023, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send a notification of such filing to all CM/ECF

participants.



                                            By:     /s/ David Yerushalmi
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